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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. 21-cv-2091
                                                            :
 v.                                                         :
                                                            :   COMPLAINT FOR VIOLATIONS OF
 CUBIC CORPORATION, BRADLEY H.                              :   SECTIONS 14(a) AND 20(a) OF THE
 FELDMANN, DAVID F. MELCHER, PRITH                          :   SECURITIES EXCHANGE ACT OF
 BANERJEE, BRUCE G. BLAKLEY,                                :   1934
 DENISE L. DEVINE, MAUREEN                                  :
 BREAKIRON-EVANS, CAROLYN                                   :   JURY TRIAL DEMANDED
 FLOWERS, JANICE M. HAMBY, and                              :
 STEVEN J. NORRIS,                                          :
                                                            :
                   Defendants.                              :
 --------------------------------------------------------   :
                                                            :
                                                            :


        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against Cubic, Inc. (“Cubic or the “Company”)

and the members Cubic board of directors (the “Board” or the “Individual Defendants” and

collectively with the Company, the “Defendants”) for their violations of Sections 14(a) and 20(a)

of the Securities Exchange Act of 1934 (the “Exchange Act”), in connection with the proposed

acquisition of Cubic by Atlas CC Acquisition Corp., (“Atlas”) a Delaware corporation and an

affiliate of The Veritas Capital Fund VII, L.P. (collectively with Atlas, “Veritas”).
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       2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A

(the “Proxy Statement”) to be filed on March 8, 2021 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders.                  The Proxy

Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby Atlas Merger Sub Inc., a Delaware corporation and wholly owned subsidiary of Atlas

(“Merger Sub”) will merge with and into Cubic with Cubic surviving the merger and becoming a

wholly owned subsidiary of Atlas (the “Proposed Transaction”). Pursuant to the terms of the

definitive agreement and plan of merger the companies entered into (the “Merger Agreement”)

each Cubic common share issued and outstanding will be converted into the right to receive $70.00

in cash (the “Merger Consideration”).

       3.       As discussed below, Defendants have asked Cubic stockholders to support the

Proposed Transaction based upon the materially incomplete and misleading representations and

information contained in the Proxy Statement, in violation of Sections 14(a) and 20(a) of the

Exchange Act. Specifically, the Proxy Statement contains materially incomplete and misleading

information concerning the Company’s financial forecasts and financial analyses conducted by the

financial advisors of the Company, J.P. Morgan Securities LLC (“J.P. Morgan”) and Raymond

James & Associates, Inc. (“Raymond James”) in support of their fairness opinions, and relied upon

by the Board in recommending the Company’s stockholders vote in favor of the Proposed

Transaction.

       4.       It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.




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        5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Cubic stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because Atlas and Veritas are headquartered in this

District.

                                              PARTIES

        9.       Plaintiff is, and has been at all relevant times, the owner of Cubic common stock

and has held such stock since prior to the wrongs complained of herein.

        10.      Individual Defendant Bradley H. Feldmann has served as a member of the Board

since and is the Company’s President, Chief Executive Officer, and Chairman.

        11.      Individual Defendant David F. Melcher has served as a member of the Board since

and is the Lead Independent Director.


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        12.     Individual Defendant Prith Banerjee has served as a member of the Board since.

        13.     Individual Defendant Bruce G. Blakley has served as a member of the Board since.

        14.     Individual Defendant Denise L. Devine has served as a member of the Board since.

        15.     Individual Defendant Maureen Breakiron-Evans has served as a member of the

Board since.

        16.     Individual Defendant Carolyn Flowers has served as a member of the Board since.

        17.     Individual Defendant Janice M. Hamby has served as a member of the Board since.

        18.     Individual Defendant Steven J. Norris has served as a member of the Board since.

        19.     Defendant Cubic is incorporated in Delaware and maintains its principal offices at

9233 Balboa Avenue, San Diego, California 92123. The Company’s common stock trades on the

New York Stock Exchange under the symbol “CUB.”

        20.     The defendants identified in paragraphs 10-18 are collectively referred to as the

“Individual Defendants” or the “Board.”

        21.     The defendants identified in paragraphs 10-19 are collectively referred to as the

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction

        22.     Cubic designs, integrates, and operates systems, products, and services for

command, control, communications, computers, intelligence, surveillance, and reconnaissance

(C4ISR) customers worldwide. The Company operates through three segments: Cubic

Transportation Systems (CTS), Cubic Mission Solutions (CMS), and Cubic Global Defense

(CGD) Systems. The CTS segment integrates payment and information technology and services

for intelligent travel solutions. It also designs, develops, produces, installs, operates, and maintains

automated fare payment, traffic management and enforcement solutions, real-time information


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systems, and revenue management infrastructure and technologies for transportation agencies. The

CMS segment offers networked C4ISR solutions for defense, intelligence, security, and

commercial missions. The CGD Systems segment supplies live, virtual, constructive, and game-

based training solutions to the U.S. Department of Defense, other U.S. government agencies, and

allied nations. The Company was incorporated in 1949 and is headquartered in San Diego,

California.

       23.     On February 8, 2021, Cubic announced that it had entered into a proposed

transaction:

       SAN DIEGO--(BUSINESS WIRE)--Cubic Corporation (NYSE: CUB) (“Cubic”
       or the “Company”) today announced that it has entered into a definitive agreement
       (the “Agreement”) with an affiliate of Veritas Capital (“Veritas”), under which
       Veritas and Evergreen Coast Capital Corporation (“Evergreen”), an affiliate of
       Elliott Investment Management L.P. (“Elliott”), will acquire Cubic for $70.00 per
       share in cash.

       Under the terms of the Agreement, Cubic shareholders will receive $70.00 in cash
       for each share of Cubic’s common stock they currently hold, representing a
       premium of approximately 58% to Cubic’s unaffected closing stock price on
       September 18, 2020, the last trading day before the Company’s disclosure of third-
       party interest in potentially acquiring Cubic. The all-cash transaction will be valued
       at approximately $2.8 billion, including the assumption of debt.

       Following the closing of the transaction, the Company will remain based in San
       Diego, California. The transaction is expected to be seamless for customers and
       employees across Cubic’s businesses.

       Bradley H. Feldmann, Chairman, President and Chief Executive Officer of Cubic
       Corporation, said, “This transaction is in the best interests of our shareholders and
       provides them with a significant premium and liquidity – while accelerating future
       growth to the benefit of our employees and customers. Our success in attracting a
       premier, deeply experienced partner and securing a transaction at this premium
       reflects the positive momentum of our business. Although last fiscal year brought
       unprecedented challenges, Cubic was able to build on our strengths, protect our
       people, serve our customers and deliver a value-maximizing deal for our
       shareholders. We look forward to partnering with Veritas and remain grateful to
       our customers for their trust and to our fellow CUBES for their unwavering
       commitment to delivering innovative, mission-critical solutions.”



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Ramzi Musallam, CEO and Managing Partner of Veritas, said, “Cubic has an
unparalleled history of delivering innovative technology-based solutions to address
the mission-critical needs of the global transportation and defense markets. We look
forward to leveraging our expertise in the government technology market – a key
focus of Veritas since our inception – in partnership with the team at Cubic to
accelerate product development and drive growth as Cubic continues to improve
the quality of global transportation systems and to deliver innovative defense
solutions.”

On behalf of Elliott, Jesse Cohn said, “Elliott believes this outstanding transaction
maximizes value for Cubic’s shareholders, and we are pleased to have engaged
constructively with the Company’s Board and management to reach this outcome.
We look forward to partnering with Veritas and the Cubic team as we work through
Cubic’s next phase of growth as a private company.” Elliott has entered into an
agreement to vote its shares in support of the transaction.

Transaction Details

The transaction will be financed through a combination of equity and debt
financing. The Board of Directors of Cubic has unanimously approved the
Agreement and recommends that Cubic shareholders vote in favor of the
transaction.

This summary of the Agreement is incomplete, and Cubic encourages shareholders
to read the full Agreement included with the Company’s current report on Form 8-
K, which will be filed with the United States Securities and Exchange Commission
in due course.

The transaction is expected to close during the second calendar quarter of 2021,
subject to customary closing conditions, including the receipt of shareholder and
regulatory approvals.

Advisors

J.P. Morgan Securities LLC is acting as lead financial advisor to the Company and
Sidley Austin LLP and Faegre Drinker Biddle & Reath LLP are acting as the
Company’s legal counsel. Raymond James & Associates, Inc. provided the Board
with an opinion regarding the fairness, from a financial point of view, of the
consideration offered to Cubic shareholders.

Skadden, Arps, Slate, Meagher & Flom LLP is acting as legal counsel to Veritas.

Gibson, Dunn & Crutcher LLP is acting as legal counsel to Evergreen.



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       24.     The Board has unanimously approved the Proposed Transaction. It is therefore

imperative that Cubic’s stockholders are provided with the material information that has been

omitted from the Proxy Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       25.     On March 8, 2021, Cubic filed the Proxy Statement with the SEC in connection

with the Proposed Transaction.       The Proxy Statement was furnished to the Company’s

stockholders and solicits the stockholders to vote in favor of the Proposed Transaction. The

Individual Defendants were obligated to carefully review the Proxy Statement before it was filed

with the SEC and disseminated to the Company’s stockholders to ensure that it did not contain any

material misrepresentations or omissions. However, the Proxy Statement misrepresents and/or

omits material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Cubic Financial Projections

       26.     The Proxy Statement fails to provide material information concerning financial

projections by Cubic management and relied upon by the Financial Advisors in their analyses. The

Proxy Statement discloses financial projections for the Company which are materially misleading.

The Proxy Statement indicates that in connection with the rendering of its fairness opinion, that

the Company and the Financial Advisors prepared certain non-public financial forecasts (the

“Company Projections”) and provided them to the Board with forming a view about the stand-

alone valuation of the Company. Accordingly, the Proxy Statement should have, but fails to

provide, certain information in the projections that Cubic management provided to the Board and


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the financial advisors. Courts have uniformly stated that “projections … are probably among the

most highly-prized disclosures by investors. Investors can come up with their own estimates of

discount rates or [] market multiples. What they cannot hope to do is replicate management’s inside

view of the company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-

203 (Del. Ch. 2007).

       27.     The Proxy Statement provides values for non-GAAP (Generally Accepted

Accounting Principles) financial metrics: Adjusted EBITDA and Unlevered Free Cash Flow, but

fails to provide line items used to calculate these metrics and/or a reconciliation of these non-

GAAP metrics to their most comparable GAAP measures, in direct violation of Regulation G and

consequently Section 14(a).

       28.     For Adjusted EBITDA, the Proxy Statement fails to disclose the values for interest

expense, loss on extinguishment of debt, income taxes, depreciation and amortization, other non-

operating expense, acquisition-related expenses, strategic and information technology (“IT”)

system resource planning expenses, restructuring costs, and gains or losses on the disposal of fixed

assets, and stock-based compensation.

       29.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.




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       30.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.1

       31.     Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measures to the most comparable

GAAP measures to make the non-GAAP metrics included in the Proxy Statement not misleading.

       32.     With respect to Evercore’s Discounted Cash Flow Analysis for the Company, the

Proxy Statement also fails to disclose: (i) the terminal values calculated for the Company; (ii) the

inputs and assumptions underlying the range of discount rates ranging from 8.0% to 9.0%, (iii) the

inputs and assumptions underlying the use of perpetuity growth rates ranging from 2.5% to 3.0%;

and (iv) the Company’s estimated net debt as of December 31, 2020; and (v) the number of fully

diluted shares of Company common stock.

       33.     With respect to J.P. Morgan’s Public Trading Multiples Analysis, the Proxy

Statement fails to disclose: (i) the individual multiples and financial benchmarking metrics for

each of the transactions observed by J.P. Morgan in its analysis.




1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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       34.     With respect to J.P. Morgan’s Discounted Cash Flow Analysis, the Proxy Statement

fails to disclose: (i) the terminal values of the Company; (ii) the basis for applying perpetuity

growth rates ranging from 2.50% to 3.50%; (iii) the basis for applying discount rates ranging from

9.50% to 10.50%; (iv) the Company’s net debt as of September 30, 2020; (v) minority interest less

cash; (vi) value of the benefits expected by the Company’s management to be derived by the

Company from its utilization of estimated net operating loss carryforwards of the Company as

provided by the Company’s management; and (vii) the fully diluted number of shares of Company

common stock.

       35.     With respect to J.P. Morgan’s Selected Transaction Analysis, the Proxy Statement

fails to disclose the individual multiples and financial benchmarking metrics for each transaction

observed by J.P. Morgan in the analysis.

       36.     With respect to Raymond James’ Selected Companies Analysis, the Proxy

Statement fails to disclose the financial multiples other than enterprise value compared to EBITDA

calculated by Raymond James in the analysis.

       37.     With respect to Raymond James’ Discounted Cash Flow Analysis, the Proxy

Statement fails to disclose: (i) the terminal values for the Company in 2025; (ii) the basis for

applying multiples ranging from 11.0x to 13.0x; (iii) the basis for applying discount rates ranging

from 9.5% to 11.5%; (iv) the Company’s net debt as of December 31, 2020; (v) management’s

estimate for the value of its Net Operating Losses; and (vi) the number of diluted shares

outstanding of Company common stock.

       38.     In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting




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to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          39.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          40.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          41.   Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, financial

analysis that were prepared by Evercore and relied upon by the Board in recommending the

Company’s stockholders vote in favor of the Proposed Transaction.

          42.   In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were



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therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

          43.   Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives and the Company’s

financial projections.

          44.   The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          45.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          46.   The Individual Defendants acted as controlling persons of Cubic within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of Cubic, and participation in and/or awareness of the Company’s operations and/or



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intimate knowledge of the incomplete and misleading statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision making of Cubic, including the content and dissemination of the

various statements that Plaintiff contends are materially incomplete and misleading.

       47.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       48.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Cubic, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue contains

the unanimous recommendation of the Board to approve the Proposed Transaction. The Individual

Defendants were thus directly involved in the making of the Proxy Statement.

       49.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       50.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.




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          51.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

          52.    Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                      RELIEF REQUESTED

          WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

          A.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;

          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.




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                                      JURY DEMAND

     Plaintiff demands a trial by jury.

Dated: March 10, 2021                          MELWANI & CHAN LLP

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